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                                                          APPEAL,CLOSED,JURY,TYPE−L
                               U.S. District Court
                    District of Columbia (Washington, DC)
              CIVIL DOCKET FOR CASE #: 1:15−cv−00340−ABJ
                                Internal Use Only

AGNEW et al v. GOVERNMENT OF THE DISTRICT OF       Date Filed: 03/09/2015
COLUMBIA et al                                     Date Terminated: 06/26/2017
Assigned to: Judge Amy Berman Jackson              Jury Demand: Plaintiff
Cause: 42:1983 Civil Rights Act                    Nature of Suit: 440 Civil Rights: Other
                                                   Jurisdiction: Federal Question
Plaintiff
DARYL THOMAS AGNEW                    represented by Lynn E. Cunningham
                                                     LAW OFFICES OF LYNN E.
                                                     CUNNINGHAM
                                                     306 Westview Drive
                                                     Dubois, WY 82513−1547
                                                     (307) 431−4158
                                                     Fax: (307) 455−3334
                                                     Email: lcunningham@law.gwu.edu
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                    Michael P. Bruckheim
                                                    LAW OFFICE OF MICHAEL
                                                    BRUCKHEIM, LLC
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                                                    Rockville, MD 20850
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                                                    Email: michael@brucklaw.com
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    William Charles Cole Claiborne , III
                                                    717 D Street NW
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                                                    (202) 824−0700
                                                    Email: claibornelaw@gmail.com
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

Plaintiff
RASHAD BUGG BEY                       represented by Lynn E. Cunningham
TERMINATED: 10/05/2015                               (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                                                             1
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                                                  Michael P. Bruckheim
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  William Charles Cole Claiborne , III
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

Plaintiff
ALEX DENNIS                           represented by Lynn E. Cunningham
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                  Michael P. Bruckheim
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  William Charles Cole Claiborne , III
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

Plaintiff
RAYNEKA WILLIAMSON                    represented by Lynn E. Cunningham
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                  Michael P. Bruckheim
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  William Charles Cole Claiborne , III
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED


V.
Defendant
GOVERNMENT OF THE DISTRICT            represented by Esther Yong
OF COLUMBIA                                          OFFICE OF THE ATTORNEY
                                                     GENERAL FOR THE DISTRICT OF
                                                     COLUMBIA
                                                     Civil Litigation Division

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                                          441 4th Street, NW
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                                          Gregory Martin Cumming
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                                          ATTORNEY TO BE NOTICED

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                                          TERMINATED: 07/12/2016

                                          Chad Wayne Copeland
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                                          GENERAL FOR THE DISTRICT OF
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                                          Washington, DC 20001
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                                          Fax: (202) 741−8880
                                          Email: chad.copeland@dc.gov
                                          TERMINATED: 12/11/2015

                                          Gary Daniel Feldon
                                          UNITED STATES DEPARTMENT OF
                                          JUSTICE
                                          Civil Division, Federal Programs Branch
                                          20 Massachusetts Avenue, NW
                                          Room 7132
                                          Washington, DC 20530
                                          (202) 514−4686

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                                                             Fax: (202) 616−8460
                                                             Email: Gary.D.Feldon@usdoj.gov
                                                             TERMINATED: 08/27/2015

Defendant
CATHY L. LANIER                               represented by Chad Wayne Copeland
SUED IN OFFICIAL AND INDIVIDUAL                              (See above for address)
CAPACITIES                                                   TERMINATED: 12/11/2015
TERMINATED: 10/05/2015
                                                             Gary Daniel Feldon
                                                             (See above for address)
                                                             TERMINATED: 08/27/2015


Date Filed   #    Page Docket Text
03/09/2015    1        COMPLAINT against All Defendants with Jury Demand ( Filing fee $ 400
                       receipt number 0090−4016235) filed by DARYL THOMAS AGNEW.
                       (Attachments: # 1 Civil Cover Sheet, # 2 Summons)(Claiborne, William)
                       (Entered: 03/09/2015)
03/09/2015             Case Assigned to Judge Amy Berman Jackson. (md, ) (Entered: 03/10/2015)
03/10/2015    2        SUMMONS (3) Issued Electronically as to CATHY L. LANIER, District of
                       Columbia Attorney General, and the District of Columbia Mayor. (rdj) (Entered:
                       03/10/2015)
03/16/2015    3        NOTICE of Appearance by Lynn E. Cunningham on behalf of All Plaintiffs
                       (Cunningham, Lynn) (Entered: 03/16/2015)
03/17/2015    4        NOTICE of Appearance by Michael P. Bruckheim on behalf of All Plaintiffs
                       (Bruckheim, Michael) (Entered: 03/17/2015)
04/01/2015    5        CERTIFICATE OF SERVICE by DARYL THOMAS AGNEW service on
                       District of Columbia. (Claiborne, William) (Entered: 04/01/2015)
04/01/2015    6        CERTIFICATE OF SERVICE by DARYL THOMAS AGNEW Chief Cathy
                       Lanier. (Claiborne, William) (Entered: 04/01/2015)
04/02/2015             ent (jf, ) (Entered: 04/02/2015)
04/02/2015             ent (jf, ) (Entered: 04/02/2015)
04/06/2015    7        RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed as
                       to the District of Columbia Attorney General. Date of Service Upon District of
                       Columbia Attorney General 4/1/2015. Answer due for ALL D.C.
                       DEFENDANTS by 4/22/2015. (Claiborne, William) (Entered: 04/06/2015)
04/06/2015    8        RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed.
                       All Plaintiffs (Claiborne, William) (Entered: 04/06/2015)
04/06/2015    9        RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed.
                       All Plaintiffs (Claiborne, William) (Entered: 04/06/2015)
05/05/2015   10        NOTICE of Appearance by Gary Daniel Feldon on behalf of GOVERNMENT
                       OF THE DISTRICT OF COLUMBIA, CATHY L. LANIER (Feldon, Gary)

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                   (Entered: 05/05/2015)
05/05/2015   11    Consent MOTION for Extension of Time to File Answer by GOVERNMENT
                   OF THE DISTRICT OF COLUMBIA, CATHY L. LANIER (Copeland, Chad)
                   (Entered: 05/05/2015)
05/06/2015         MINUTE ORDER granting 11 Defendants' Motion for Extension of Time 11 . It
                   is ORDERED that defendants shall respond to the complaint on or before May
                   29, 2015. Signed by Judge Amy Berman Jackson on 5/6/2015. (lcabj3) (Entered:
                   05/06/2015)
05/06/2015         Set/Reset Deadlines: Defendants' Response to the Complaint is due by
                   5/29/2015.(jth) (Entered: 05/06/2015)
05/29/2015   12    MOTION to Dismiss, MOTION to Stay by GOVERNMENT OF THE
                   DISTRICT OF COLUMBIA, CATHY L. LANIER (Attachments: # 1 Exhibit
                   Docket for Mr. Agnew's Criminal Case, # 2 Exhibit Complaint in Mr. Bugg
                   Bey's Superior Court Case, # 3 Exhibit Docket for Mr. Bugg Bey's Superior
                   Court Case, # 4 Exhibit Council Report for Statute)(Copeland, Chad). Added
                   MOTION to Stay on 5/29/2015 (jf). (Entered: 05/29/2015)
05/29/2015         NOTICE OF ERROR re 12 Motion to Dismiss; emailed to
                   chad.copeland@dc.gov, cc'd 10 associated attorneys −− The PDF file you
                   docketed contained errors: 1. DONOT REFILE−Counsel is reminded to docket
                   all parts of their motion (jf, ) (Entered: 05/29/2015)
06/08/2015   13    Consent MOTION to Stay deadline to file class motion by DARYL THOMAS
                   AGNEW (Attachments: # 1 Text of Proposed Order)(Claiborne, William)
                   (Entered: 06/08/2015)
06/09/2015         MINUTE ORDER granting Consent Motion to Stay Time for Filing Motion for
                   Class Action Treatment 13 . In light of the agreement of the parties, it is
                   ORDERED that the time for plaintiff to file a motion for class action treatment
                   is extended until further order of the Court. Signed by Judge Amy Berman
                   Jackson on 6/9/2015. (lcabj3) (Entered: 06/09/2015)
06/24/2015   14    Consent MOTION for Extension of Time to file amended complaint by DARYL
                   THOMAS AGNEW (Attachments: # 1 Exhibit amended complaint, # 2 Text of
                   Proposed Order)(Claiborne, William) (Entered: 06/24/2015)
06/25/2015         MINUTE ORDER granting 14 Plaintiff's Consent Motion for Enlargement of
                   Time Nunc Pro Tunc. The Clerk is directed to file the amended complaint [Dkt.
                   # 14−1] on the docket. It is FURTHER ORDERED that defendants' response to
                   the amended complaint shall be due on or before August 10, 2015; that
                   plaintiffs' opposition to any motion to dismiss shall be due on or before
                   September 8, 2015; and that defendants' reply, if any, shall be due on or before
                   September 29, 2015. Signed by Judge Amy Berman Jackson on 6/25/2014.
                   (lcabj3) (Entered: 06/25/2015)
06/25/2015         Set/Reset Deadlines: Defendants' Response to the Amended Complaint is due by
                   8/10/2015; Plaintiffs' Opposition to any Dispositive Motion is due by 9/8/2015;
                   Defendants' reply, if any, is due by 9/29/2015. (jth) (Entered: 06/25/2015)
06/25/2015   15    AMENDED COMPLAINT against GOVERNMENT OF THE DISTRICT OF
                   COLUMBIA, CATHY L. LANIER with Jury Demand filed by DARYL
                   THOMAS AGNEW, RASHAD BUGG BEY, ALEX DENNIS, RAYNEKA
                                                                                                      5
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                   WILLIAMSON.(jf) (Entered: 06/25/2015)
08/10/2015   16    MOTION to Dismiss , MOTION to Stay re 15 Amended Complaint by
                   GOVERNMENT OF THE DISTRICT OF COLUMBIA, CATHY L. LANIER
                   (Attachments: # 1 Exhibit DC v Agnew Criminal Docket, # 2 Exhibit Bugg Bey
                   v DC Civil Complaint, # 3 Exhibit Bugg Bey v DC Civil Docket, # 4 Exhibit
                   DC v Dennis Criminal Docket, # 5 Exhibit DC v Williamson Criminal Docket, #
                   6 Exhibit DC Council Committee Report)(Copeland, Chad) (Entered:
                   08/10/2015)
08/17/2015         MINUTE ORDER. In light of 15 the amended complaint, it is ORDERED that
                   12 defendants' initial motion to dismiss, or in the alternative, to stay and dismiss
                   is DENIED as moot. Signed by Judge Amy Berman Jackson on 8/17/2015.
                   (lcabj3) (Entered: 08/17/2015)
08/27/2015   17    NOTICE of Withdrawal of Counsel by GOVERNMENT OF THE DISTRICT
                   OF COLUMBIA, CATHY L. LANIER re 10 Notice of Appearance (Feldon,
                   Gary) (Entered: 08/27/2015)
08/30/2015   18    Unopposed MOTION to Amend/Correct 15 Amended Complaint by DARYL
                   THOMAS AGNEW (Attachments: # 1 Exhibit proposed second amended
                   complaint, # 2 Exhibit proposed redlined second amended complaint, # 3 Text
                   of Proposed Order)(Claiborne, William) (Entered: 08/30/2015)
08/31/2015         MINUTE ORDER. It is ORDERED that plaintiffs' 18 Unopposed Motion for
                   Leave to Amend First Amended Complaint and to File Second Amended
                   Complaint is GRANTED. The Clerk is directed to file the second amended
                   complaint [Dkt. # 18−1] on the docket. It is FURTHER ORDERED that
                   defendants' 16 Motion to Dismiss or, in the Alternative, Stay and Dismiss is
                   DENIED as moot. Defendants may move to dismiss the second amended
                   complaint in reliance on their prior motion if they so choose. Signed by Judge
                   Amy Berman Jackson on 8/31/2015. (lcabj3) (Entered: 08/31/2015)
08/31/2015   19    SECOND AMENDED COMPLAINT against GOVERNMENT OF THE
                   DISTRICT OF COLUMBIA, CATHY L. LANIER with Jury Demand filed by
                   DARYL THOMAS AGNEW, RAYNEKA WILLIAMSON, ALEX DENNIS,
                   RASHAD BUGG BEY.(jf) (Entered: 09/01/2015)
09/15/2015   20    MOTION to Dismiss Second Amended Complaint, MOTION to Stay re 19
                   Amended Complaint Claims of Rashad Bugg Bey by GOVERNMENT OF THE
                   DISTRICT OF COLUMBIA, CATHY L. LANIER (Attachments: # 1 Exhibit
                   Agnew Criminal Docket, # 2 Exhibit Bugg Bey Superior Court Complaint, # 3
                   Exhibit Bugg Bey Superior Court Civil Docket, # 4 Exhibit Dennis Criminal
                   Docket, # 5 Exhibit Williamson Criminal Docket, # 6 Exhibit Council
                   Committee Report)(Copeland, Chad) (Entered: 09/15/2015)
10/02/2015   21    Memorandum in opposition to re 16 MOTION to Dismiss MOTION to Stay re
                   15 Amended Complaint filed by DARYL THOMAS AGNEW, ALEX
                   DENNIS, RAYNEKA WILLIAMSON. (Attachments: # 1 Exhibit Committee
                   Report, # 2 Exhibit ACLU testimony, # 3 Exhibit Bey SJ Opinion)(Claiborne,
                   William) (Entered: 10/02/2015)
10/02/2015   22    Consent MOTION to Dismiss by DARYL THOMAS AGNEW, RASHAD
                   BUGG BEY, ALEX DENNIS, RAYNEKA WILLIAMSON (Attachments: # 1
                   Text of Proposed Order)(Claiborne, William) (Entered: 10/02/2015)

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10/05/2015   23    ORDER granting 22 Motion to Dismiss. It is hereby ORDERED that: Plaintiffs'
                   claims in Counts 1 and 3 of 19 plaintiffs' Second Amended Complaint that relate
                   to the First and Fourth Amendments are hereby dismissed without prejudice;
                   counts 2, 4, and 5 are dismissed without prejudice; all claims against defendant
                   Cathy L. Lanier are dismissed without prejudice; and plaintiff Rashad Bugg Bey
                   is dismissed from this action. See Order for details. Signed by Judge Amy
                   Berman Jackson on 10/5/2015. (lcabj3) (Entered: 10/05/2015)
10/07/2015   24    Consent MOTION for Extension of Time to File Reply by GOVERNMENT OF
                   THE DISTRICT OF COLUMBIA (Copeland, Chad) (Entered: 10/07/2015)
10/08/2015         MINUTE ORDER granting 24 defendant's Motion for Extension of Time to File
                   a Reply to 21 plaintiffs' memorandum in opposition to ]16] defendant's motion
                   to dismiss. Defendant's reply shall be filed no later than October 21, 2015. SO
                   ORDERED. Signed by Judge Amy Berman Jackson on 10/8/2015. (lcabj3).
                   (Entered: 10/08/2015)
10/14/2015         Set/Reset Deadlines: Defendant's Reply in Support of It's Motion to Dismiss is
                   now due by 10/21/2015. (jth) (Entered: 10/14/2015)
10/21/2015   25    REPLY to opposition to motion re 20 MOTION to Dismiss Second Amended
                   Complaint MOTION to Stay re 19 Amended Complaint Claims of Rashad Bugg
                   Bey filed by GOVERNMENT OF THE DISTRICT OF COLUMBIA, CATHY
                   L. LANIER. (Copeland, Chad) (Entered: 10/21/2015)
12/11/2015   26    NOTICE OF SUBSTITUTION OF COUNSEL by Caliandra Burstein on behalf
                   of GOVERNMENT OF THE DISTRICT OF COLUMBIA Substituting for
                   attorney Chad Copeland (Burstein, Caliandra) (Entered: 12/11/2015)
07/05/2016         MINUTE ORDER. Plaintiffs argue that the incommoding statute is vague on its
                   face. But plaintiffs Agnew and Dennis seem to allege that they did not violate
                   the statute at all, and it is not clear to the Court whether they allege that the law
                   is vague as it is applied to them. See, e.g., 19 2d Am. Compl. paras. 89, 100,
                   158. Defendants maintain that to raise a vagueness challenge under the Fifth
                   Amendment to a statute that does not implicate constitutionally−protected
                   activity, plaintiffs must demonstrate that the statute is vague as applied to them.
                   See Holder v. Humanitarian Law Project, 561 U.S. 1, 20 (2010), quoting Village
                   of Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. 489, 495
                   (1982). So plaintiffs shall file a supplemental pleading addressing the legal
                   question of (1) whether the complaint must, and (2) whether the complaint does
                   − even if plaintiffs maintain that it doesn't have to − state a claim that the
                   incommoding statute is vague as applied to the two of them. (The Court does not
                   have questions about plaintiff Williamson at this time.) In addition, in light of
                   the consent order which substantially narrowed the scope of this litigation, both
                   parties shall address the question of whether Count I as it has been narrowed
                   states a claim under section 1983, which, under Baker v. District of Columbia,
                   326 F.3d 1302 (D.C. Cir. 2000), requires a plaintiff to allege first, a predicate
                   constitutional violation, and second, a claim that a custom or policy of the
                   municipality caused the violation. Plaintiffs need to specify the particular
                   constitutional violation that forms the basis for the claim in Count 1, and they
                   must point to the specific paragraphs in the complaint that satisfy these elements
                   given the number of paragraphs in the complaint that allege that the particular
                   officer involved had difficulty controlling his temper and may have acted out of
                   racial animus. See, e.g., 2d Am. Compl. paras. 90−92, 151−152. Both parties
                                                                                                           7
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                   shall also address whether one can utilize section 1983 to bring a facial
                   challenge to a statute at all, and whether these plaintiffs have standing to
                   challenge the facial validity of the statute when they were arrested but not
                   convicted. One pleading from each side shall be filed by July 25, 2016, and
                   neither pleading shall exceed ten pages. SO ORDERED.Signed by Judge Amy
                   Berman Jackson on 7/5/2016. (lcabj3) (Entered: 07/05/2016)
07/12/2016   27    NOTICE OF SUBSTITUTION OF COUNSEL by Esther Yong on behalf of
                   GOVERNMENT OF THE DISTRICT OF COLUMBIA Substituting for
                   attorney Caliandra Burstein (Yong, Esther) (Entered: 07/12/2016)
07/25/2016   28    NOTICE of Appearance by Gregory Martin Cumming on behalf of
                   GOVERNMENT OF THE DISTRICT OF COLUMBIA (Cumming, Gregory)
                   (Entered: 07/25/2016)
07/25/2016   29    SUPPLEMENTAL MEMORANDUM to In Response to Minute Order of July
                   5, 2016 filed by GOVERNMENT OF THE DISTRICT OF COLUMBIA.
                   (Yong, Esther) (Entered: 07/25/2016)
07/25/2016   30    SUPPLEMENTAL MEMORANDUM to re 21 Memorandum in Opposition,
                   filed by DARYL THOMAS AGNEW, ALEX DENNIS, RAYNEKA
                   WILLIAMSON. (Attachments: # 1 Exhibit informations charging named
                   plaintiffs)(Claiborne, William) (Entered: 07/25/2016)
08/04/2016         Set/Reset Hearing: A Motions Hearing in this case is scheduled for Thursday,
                   August 11, 2016, at 10:30 AM in Courtroom 3 before Judge Amy Berman
                   Jackson. (jth) (Entered: 08/04/2016)
08/11/2016         Minute Entry for Proceedings held before Judge Amy Berman Jackson: Motion
                   Hearing held on 8/11/2016 re: Defendants' 20 Motion to Dismiss Second
                   Amended Complaint. The 20 Motion was Heard and Taken under Advisement.
                   (Court Reporter: Janice Dickman) (jth) (Entered: 08/11/2016)
08/16/2016   31    NOTICE of intent to file motion to amend complaint by DARYL THOMAS
                   AGNEW, ALEX DENNIS, RAYNEKA WILLIAMSON (Claiborne, William)
                   (Entered: 08/16/2016)
08/17/2016   32    MOTION to Amend/Correct 19 Amended Complaint by DARYL THOMAS
                   AGNEW, ALEX DENNIS, RAYNEKA WILLIAMSON (Attachments: # 1
                   Exhibit proposed Third Amended Complaint, # 2 Exhibit redlined proposed
                   Third Amended Complaint, # 3 Text of Proposed Order)(Claiborne, William)
                   (Entered: 08/17/2016)
09/06/2016   33    Memorandum in opposition to re 32 MOTION to Amend/Correct 19 Amended
                   Complaint filed by GOVERNMENT OF THE DISTRICT OF COLUMBIA.
                   (Attachments: # 1 Text of Proposed Order)(Yong, Esther) (Entered: 09/06/2016)
09/06/2016   34    ORDER. Plaintiff's 32 motion to file a Third Amended Complaint is GRANTED
                   IN PART AND DENIED IN PART. Plaintiffs may file a Third Amended
                   Complaint that includes only the allegations that are material to this case. See
                   Fed. R. Civ. P. 8(a), 15(a)(2). Therefore, pursuant to Federal Rule of Civil
                   Procedure 12(f), the allegations regarding Mr. Bey and Mr. Alexander are
                   STRIKEN. Plaintiffs shall have until September 16, 2016 to file a revised Third
                   Amended Complaint that comports with this Order by removing paragraphs 61
                   through 84, and renumbering the remaining allegations. Defendant shall answer

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                   or otherwise respond to the Third Amended Complaint by September 30, 2016.
                   It is FURTHER ORDERED that, in light of the Third Amended Complaint,
                   defendant's 20 motion to dismiss the Second Amended Complaint is DENIED
                   AS MOOT. SO ORDERED. Signed by Judge Amy Berman Jackson on
                   9/6/2016. (lcabj3) (Entered: 09/06/2016)
09/07/2016   35    AMENDED COMPLAINT Third against GOVERNMENT OF THE DISTRICT
                   OF COLUMBIA with Jury Demand filed by DARYL THOMAS AGNEW,
                   RAYNEKA WILLIAMSON, ALEX DENNIS.(Claiborne, William) (Entered:
                   09/07/2016)
09/07/2016         Set/Reset Deadlines: Defendant shall answer or otherwise respond to the Third
                   Amended Complaint by 9/30/2016. (jth) (Entered: 09/07/2016)
09/28/2016   36    Consent MOTION for Extension of Time to File Answer re 35 Amended
                   Complaint by GOVERNMENT OF THE DISTRICT OF COLUMBIA
                   (Attachments: # 1 Memorandum in Support, # 2 Text of Proposed
                   Order)(Cumming, Gregory) (Entered: 09/28/2016)
09/30/2016         MINUTE ORDER granting defendant's 36 consent motion for an extension of
                   time to answer. Defendant shall answer or otherwise respond to the 35 Third
                   Amended Complaint by October 14, 2016. SO ORDERED. Signed by Judge
                   Amy Berman Jackson on 9/30/2016. (lcabj3) (Entered: 09/30/2016)
10/14/2016   37    MOTION to Dismiss Third Amended Complaint by GOVERNMENT OF THE
                   DISTRICT OF COLUMBIA (Attachments: # 1 Memorandum in Support, # 2
                   Text of Proposed Order, # 3 Exhibit A)(Cumming, Gregory) (Entered:
                   10/14/2016)
10/20/2016   38    Consent MOTION for Extension of Time to file opposition to DEFENDANTS'
                   motion to dismiss by DARYL THOMAS AGNEW, ALEX DENNIS,
                   RAYNEKA WILLIAMSON (Attachments: # 1 Text of Proposed
                   Order)(Claiborne, William) (Entered: 10/20/2016)
10/21/2016         MINUTE ORDER granting plaintiffs' 38 consent motion for an extension of
                   time. Plaintiffs shall oppose the 37 motion to dismiss by December 5, 2016.
                   Defendant shall reply by December 16, 2016. SO ORDERED. Signed by Judge
                   Amy Berman Jackson on 10/21/2016.(lcabj3) (Entered: 10/21/2016)
12/05/2016   39    Consent MOTION for Extension of Time to File Response/Reply as to 37
                   MOTION to Dismiss Third Amended Complaint by DARYL THOMAS
                   AGNEW, ALEX DENNIS, RAYNEKA WILLIAMSON (Attachments: # 1 Text
                   of Proposed Order)(Claiborne, William) (Entered: 12/05/2016)
12/05/2016         MINUTE ORDER granting plaintiffs' 39 consent motion for an extension of
                   time. Plaintiffs shall respond to the 37 motion to dismiss by December 7, 2016,
                   and the government shall file its reply, if any, by December 20, 2016. SO
                   ORDERED. Signed by Judge Amy Berman Jackson on 12/5/2016. (lcabj3)
                   (Entered: 12/05/2016)
12/05/2016         Set/Reset Deadlines: Response to Dispositive Motion due by 12/7/2016; Reply,
                   if any, due by 12/20/2016. (tg) (Entered: 12/06/2016)
12/07/2016   40    Memorandum in opposition to re 37 MOTION to Dismiss Third Amended
                   Complaint filed by DARYL THOMAS AGNEW, ALEX DENNIS, RAYNEKA
                   WILLIAMSON. (Claiborne, William) (Entered: 12/07/2016)
                                                                                                     9
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12/20/2016   41       REPLY to opposition to motion re 37 MOTION to Dismiss Third Amended
                      Complaint filed by GOVERNMENT OF THE DISTRICT OF COLUMBIA.
                      (Cumming, Gregory) (Entered: 12/20/2016)
06/26/2017   42   13 ORDER. Pursuant to Federal Rules of Civil Procedure 12 and 58, and for the
                     reasons stated in the accompanying memorandum opinion, defendant's 37
                     motion to dismiss is GRANTED. See Order for details. SO ORDERED. Signed
                     by Judge Amy Berman Jackson on 6/26/2017. (lcabj3) (Entered: 06/26/2017)
06/26/2017   43   14 MEMORANDUM OPINION. Signed by Judge Amy Berman Jackson on
                     6/26/2017. (lcabj3) (Entered: 06/26/2017)
07/25/2017   44   11 NOTICE OF APPEAL TO DC CIRCUIT COURT as to 42 Order on Motion to
                     Dismiss, by DARYL THOMAS AGNEW, ALEX DENNIS, RAYNEKA
                     WILLIAMSON. Filing fee $ 505, receipt number 0090−5047443. Fee Status:
                     Fee Paid. Parties have been notified. (Claiborne, William) (Entered: 07/25/2017)




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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


DARYL THOMAS AGNEW
4223 Brooks Street, NE,
Washington DC 20019

and

ALEX DENNIS
3130 Buena Vista Terrace, SE
Apt. 1
                                                     Civil Action No.: 15-340 (ABJ)
Washington, DC 20020

and

RAYNEKA WILLIAMSON
425 2d Street, NE
Washington, DC

Plaintiffs

      v.

GOVERNMENT OF THE DISTRICT OF
COLUMBIA

Defendant
                                        Civil Notice of Appeal

           Notice is hereby given this 25th day of July, 2017 that Plaintiffs Darryl Thomas

Agnew, Alex Dennis, and Rayneka mmm Williams, on behalf of themselves and all others

similarly situated, hereby appeal to the United States Court of Appeals for the District of

Columbia Circuit from the judgment of the Court entered June 26, 2017 [Document # 42] in

favor of the defendant, government of the District of Columbia, against said plaintiffs.


 Respectfully submitted,                               Respectfully submitted,

 /s/ William Claiborne                                 /s/ Lynn E. Cunningham
 WILLIAM CLAIBORNE                                     Lynn E. Cunningham, Esq.




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Respectfully submitted,


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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
DARYL THOMAS AGNEW, et al.,         )
                                    )
                  Plaintiffs,       )
                                    )
      v.                            )             Civil Action No. 15-0340 (ABJ)
                                    )
GOVERNMENT OF THE                   )
DISTRICT OF COLUMBIA,               )
                                    )
                  Defendant.        )
____________________________________)

                                          ORDER

      Pursuant to Federal Rules of Civil Procedure 12 and 58, and for the reasons stated in the

accompanying memorandum opinion, it is hereby

      ORDERED that defendant’s motion to dismiss the third amended complaint [Dkt. # 37]

is GRANTED.

      This is a final appealable order.

      SO ORDERED.




                                           AMY BERMAN JACKSON
                                           United States District Judge

DATE: June 26, 2017




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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
DARYL THOMAS AGNEW, et al.,          )
                                     )
                  Plaintiffs,       )
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      v.                            )   Civil Action No. 15-0340 (ABJ)
                                     )
GOVERNMENT OF THE                    )
DISTRICT OF COLUMBIA,                )
                                     )
                  Defendant.         )
____________________________________)

                                 MEMORANDUM OPINION

       Plaintiffs Daryl Thomas Agnew, Alex Dennis, and Rayneka Williamson have brought this

lawsuit against the District of Columbia to challenge their arrests and subsequent prosecutions. 3d

Am. Compl. [Dkt. # 35]. Plaintiffs challenge the legality of D.C. Code § 22-1307(a), known as

the “incommoding statute,” arguing that the statute is unconstitutionally vague because it allows

and encourages arbitrary and discriminatory enforcement. Id. ¶¶ 1, 2. The statute makes it

unlawful for a person or group of people:

               (1)    To crowd, obstruct, or incommode:

                      (A)     The use of any street, avenue, alley, road, highway, or
                              sidewalk;
                      (B)     The entrance of any public or private building or enclosure;
                      (C)     The use of or passage through any public building or public
                              conveyance; or
                      (D)     The passage through or within any park or reservation; and
               (2)    To continue or resume the crowding, obstructing, or incommoding
                      after being instructed by a law enforcement officer to cease the
                      crowding, obstructing, or incommoding.

D.C. Code § 22-1307(a).




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       Plaintiffs argue that the statute is both unconstitutional and unwise as a matter of policy.

At one time, plaintiffs argued, with some force, that the language of the statute does not provide

members of the community with adequate notice of what conduct it prohibits. See Pls.’ Opp. to

Def.’s Mot. to Dismiss [Dkt. # 21] at 19–24. But with the third amended complaint and the briefing

on the instant motion, plaintiffs have made clear that they are not bringing a notice case. 3d Am.

Compl. ¶ 2. Plaintiffs are only alleging that the statute is unconstitutionally vague because it is

subject to arbitrary and discriminatory enforcement. Id. A review of Supreme Court precedent

makes it clear that a statute is invalid on that basis if it contains a term that defines what is

prohibited in terms of the officer’s subjective judgment. Here, no such term appears in the statute,

so this limited challenge to the statute will be dismissed.

                                         BACKGROUND

I.     Procedural History

       Plaintiffs Daryl Thomas Agnew and Rashad Bugg Bey originally filed this action on

March 9, 2015 against the District of Columbia and the former Chief of Police, Cathy Lanier.

Compl. [Dkt. # 1]. After defendants moved to dismiss that complaint, plaintiffs filed an amended

complaint, adding Dennis and Williamson as plaintiffs to the action. See Mot. to Dismiss [Dkt.

# 12]; Am. Compl. [Dkt. # 15]; see also Min. Order (Aug. 17, 2015). Defendants moved to

dismiss the amended complaint. Mot. to Dismiss [Dkt. # 16]. In response to the motion to dismiss,

plaintiffs filed an unopposed motion to amend the complaint again, to “strip away” claims that

plaintiffs decided not to pursue, and to allege certain facts with “greater precision.” Unopposed

Mot. for Leave to Am. First Am. Compl. & to File 2d Am. Compl. [Dkt. # 18] at 1–2. The Court

granted the motion, and the second amended complaint was docketed on August 31, 2015. Min.

Order (Aug. 31, 2015); 2d Am. Compl. [Dkt. # 19].



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        Defendants moved to dismiss the second amended complaint in part, and they also

requested a stay of plaintiff Bey’s claims while similar claims were pursued in Superior Court.

Defs.’ Mot. to Dismiss Pls.’ 2d Am. Compl. or, in the Alternative, Stay and Dismiss [Dkt. # 20].

Plaintiffs opposed the motion in part, and they also filed a consent motion to dismiss certain claims;

they dismissed all claims brought by plaintiff Bey and all claims brought against the Chief of

Police. See Order (Oct. 5, 2015) [Dkt. # 23].

        On August 11, 2016, the Court held a hearing on the motion to dismiss the second amended

complaint. Min. Entry (Aug. 11, 2016). After the hearing, plaintiffs moved to amend their

complaint again. Pls.’ Mot. for Leave to Am. 2d Am. Compl. & File 3d Am. Compl. [Dkt. # 32].

According to plaintiffs, the proposed third amended complaint once again “strips away”

allegations relating to claims and parties that had previously been dismissed, states the factual

allegations “with greater precision,” and it “clarifies that [plaintiffs] only claim is that the District’s

‘incommoding’ statute is facially unconstitutional under the second prong of the vagueness

doctrine, the arbitrary and discriminatory enforcement prong.” Id. at 3. The Court granted the

motion in part; it allowed plaintiffs to make the changes described in the motion, but it did not

permit plaintiffs to add allegations related to two other people who were not previously named as

plaintiffs in the matter. Order (Sept. 6, 2016) [Dkt. # 34].

        In the third amended complaint, plaintiffs bring claims against the District of Columbia

under 42 U.S.C. § 1983 for violating their constitutional rights by arresting them under the

incommoding statute (Count I), and for prosecuting them under the incommoding statute (Count

II). 3d Am. Compl. ¶¶ 130–40. The third amended complaint also purports to bring class action

allegations under section 1983 on behalf of all persons arrested for violating the incommoding

statute, and all persons prosecuted under that provision. Id. ¶¶ 141–54. On behalf of the putative



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classes, plaintiffs demand a declaratory judgment that the incommoding statute is

unconstitutionally vague under the Fifth Amendment. Id. at 24.

       The District moved to dismiss the third amended complaint under Rule 12(b)(6). Def.’s

Mot. to Dismiss Pls.’ 3d Am. Compl. [Dkt. # 37] (“Def’s. Mot.”); Def.’s Mem. in Supp. of Def.’s

Mot. [Dkt. # 37] (“Def.’s Mem.”). Plaintiffs oppose the motion, Pls.’ Opp. to Def.’s Mot. [Dkt.

# 40] (“Pls.’ Opp.”), and the District has replied in support of its motion. Def.’s Reply in Supp.

of Def.’s Mot. [Dkt. # 41] (“Def.’s Reply”).

II.    Factual Background

       The third amended complaint includes the following facts, accepted as true for purposes of

this motion, related only to the alleged vagueness of the incommoding statute:

       A.      The arrest and prosecution of plaintiff Agnew
       Plaintiff Agnew’s “contact with [the Metropolitan Police Department] began [at] about

6:00 pm on Christmas Eve when he and the mother of his child and a friend were enjoying the

evening air on the stoop of the child’s mother’s building at 3146 Buena Vista Terrace, SE in

Washington, DC.” 3d Am. Compl. ¶ 61. Agnew asserts that “the way was clear for pedestrians

to come and go around them, and many people were in fact coming and going around them because

it was Christmas Eve.” Id. ¶¶ 68–69.

       A police officer “shattered” the “pleasant scene” when he “rolled up” in his police vehicle

and yelled in a “furious manner . . . at Mr. Agnew and the others to leave.” 3d Am. Compl. ¶ 65.

After Agnew protested that he “had every right to be there,” he was arrested for violating the

incommoding statute. Id. ¶¶ 69, 73. The police report in Agnew’s case claimed that “[b]oth of the

males were standing in a manner that would cause a citizen or citizens trying to utilize the walkway

to deviate from their path of walking.” Id. ¶ 63. When Agnew appeared for trial, the case was

dismissed for want of prosecution. Id. ¶ 80.

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       B.      The arrest and prosecution of plaintiff Dennis
       According to the complaint, plaintiff Alex Dennis stepped outside of his apartment building

located at 3130 Buena Vista Terrace, SE in the midst of preparing a Thanksgiving celebration on

November 26, 2014. 3d Am. Compl. ¶ 81. Plaintiffs allege that Dennis “was standing in the yard

on a ramp a few feet in front of the porch to his apartment building” where “the way was clear for

pedestrians to come and go,” “[n]o one was trying to come up the ramp;” and “[i]f someone had

come by, Mr. Dennis would have moved.” Id. ¶¶ 81–85. But Dennis’s “holiday spirit vanished”

when an MPD officer “rolled up in his police cruiser and in a furious manner yelled at Mr. Dennis

and another man to leave.” Id. ¶ 87. Dennis refused to move, and asked the officer, “[h]ow can

you tell me to move from the place where I live at [sic]?” Id. ¶ 93. Dennis was arrested for

incommoding, but the charges were later dismissed for want of prosecution. Id. ¶¶ 95, 104.

       Plaintiffs allege that it was the same police officer who arrested Dennis and Agnew. 3d

Am. Compl. ¶¶ 67, 90. The complaint states that the particular officer “is known for having a

quick temper that seems to control him,” and that the officer “is known to have arrested several

other young black men in the area for incommoding.” Id. ¶¶ 88–89.

       C.      The arrest and prosecution of plaintiff Williamson
       On February 4, 2015, at approximately 3:50 in the afternoon, a police officer asked plaintiff

“Williamson to move from where she was standing on the sidewalk at 2403 Martin Luther King,

Jr. Ave., S.E. because, as his police report reads, he observed her standing in front of the location

‘disrupting the smooth flow of pedestrian traffic.’” 3d Am. Compl. ¶ 106. About a half an hour

later, the officer arrested Williamson for incommoding after “he observed pedestrians having to

maneuver around her to get by on the sidewalk, and because merchants were complaining about

her in the area.” Id. ¶ 117. The charges against Williamson were also ultimately dismissed for

want of prosecution. Id. ¶ 129.

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                                    STANDARD OF REVIEW

        “To survive a [Rule 12(b)(6)] motion to dismiss, a complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009), quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). In Iqbal,

the Supreme Court reiterated the two principles underlying its decision in Twombly: “First, the

tenet that a court must accept as true all of the allegations contained in a complaint is inapplicable

to legal conclusions,” and “[s]econd, only a complaint that states a plausible claim for relief

survives a motion to dismiss.” Id. at 678–79.

        A claim is facially plausible when the pleaded factual content “allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Id. at 678, citing

Twombly, 550 U.S. at 556. “The plausibility standard is not akin to a ‘probability requirement,’

but it asks for more than a sheer possibility that a defendant has acted unlawfully.” Id., quoting

Twombly, 550 U.S. at 556. A pleading must offer more than “labels and conclusions” or a

“formulaic recitation of the elements of a cause of action,” id., quoting Twombly, 550 U.S. at 555,

and “[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice.” Id., citing Twombly, 550 U.S. at 555.

        When considering a motion to dismiss under Rule 12(b)(6), the Court is bound to construe

a complaint liberally in the plaintiff’s favor, and it should grant the plaintiff “the benefit of all

inferences that can be derived from the facts alleged.” Kowal v. MCI Commc’ns Corp., 16 F.3d

1271, 1276 (D.C. Cir. 1994). Nevertheless, the Court need not accept inferences drawn by the

plaintiff if those inferences are unsupported by facts alleged in the complaint, nor must the Court

accept plaintiff’s legal conclusions. See id.; see also Browning v. Clinton, 292 F.3d 235, 242 (D.C.

Cir. 2002). In ruling upon a motion to dismiss for failure to state a claim, a court may ordinarily



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consider only “the facts alleged in the complaint, documents attached as exhibits or incorporated

by reference in the complaint, and matters about which the Court may take judicial notice.”

Gustave-Schmidt v. Chao, 226 F. Supp. 2d 191, 196 (D.D.C. 2002), citing EEOC v. St. Francis

Xavier Parochial Sch., 117 F.3d 621, 624–25 (D.C. Cir. 1997).

                                              ANALYSIS

        Plaintiffs’ claims are brought under 42 U.S.C. § 1983, which creates a cause of action

against “[e]very person who, under color of any statute, ordinance, regulation, custom or usage

. . . subjects . . . any citizen . . . to the deprivation of any rights, privileges, or immunities secured

by the Constitution and laws.” 42 U.S.C. § 1983; see Pitt v. District of Columbia, 491 F.3d

494, 510 (D.C. Cir. 2007). The term “person” in section 1983 includes municipalities, such as the

District of Columbia, but a municipality cannot be held liable under section 1983 “solely because

it employs a tortfeasor – in other words, a municipality cannot be held liable under § 1983 on a

respondeat superior theory.” Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 691 (1978). To

maintain a section 1983 action against the District of Columbia, then, plaintiffs must allege a

predicate violation of some constitutional right, and allege facts that would show that a custom or

policy of the District of Columbia was the “moving force” behind the alleged constitutional




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violation. Baker v. District of Columbia, 326 F.3d 1302, 1306 (D.C. Cir. 2003), citing City of

Canton, Ohio v. Harris, 489 U.S. 378, 389 (1989). 1

       So the first question to be resolved is whether plaintiffs have alleged a predicate

constitutional violation.2 Because the Court finds that the statute is not impermissibly vague

because it gives rise to arbitrary and discriminatory enforcement, it need not consider whether a




1      As the D.C. Circuit has explained:

               This circuit has identified several ways in which a plaintiff may allege a
               municipal policy or custom. Specifically, she may point to (1) “the explicit
               setting of a policy by the government that violates the Constitution,” (2)
               “the action of a policy maker within the government,” (3) “the adoption
               through a knowing failure to act by a policy maker of actions by his
               subordinates that are so consistent that they have become ‘custom,’” or (4)
               “the failure of the government to respond to a need (for example, training
               of employees) in such a manner as to show ‘deliberate indifference’ to the
               risk that not addressing the need will result in constitutional violations.”

Blue v. District of Columbia, 811 F.3d 14, 18–19 (D.C. Cir. 2015), quoting Baker, 326 F.3d at
1306.

2       Because none of the plaintiffs were ultimately prosecuted, it is unclear how, even if
plaintiffs could allege a section 1983 violation based on their arrests, defendant could be liable for
unlawfully prosecuting the plaintiffs. See 3d Am. Compl. ¶¶ 131–37; Amobi v. District of
Columbia Dep’t of Corr., 755 F.3d 980, 992 (D.C. Cir. 2014) (to state a claim for malicious
prosecution, a plaintiff must show that a criminal proceeding was instituted, that the proceeding
terminated in plaintiff’s favor, that there was no probable cause for the prosecution, and that the
government acted with malice, or with a primary purpose other than that of bringing an offender
to justice), quoting DeWitt v. District of Columbia, 43 A.3d 291, 296 (D.C. 2012). So Count II
could be dismissed on that basis alone.


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District of Columbia custom or policy was the “moving force” behind any alleged constitutional

violation. 3

I.      Plaintiffs do not need to show that the statute is unconstitutional as applied to their
        conduct.
        Traditionally, to succeed on a facial vagueness challenge, a plaintiff had to show that “the

enactment [was] impermissibly vague in all of its applications.” U.S. Telecom Ass’n v. FCC, 825

F.3d 674, 735 (D.C. Cir. 2016), quoting Vill. of Hoffman Estates v. Flipside, Hoffman Estates, Inc.,

455 U.S. 489, 495 (1982). That rule was grounded in the notion that a “plaintiff who engages in

some conduct that is clearly proscribed cannot complain of the vagueness of the law as applied to

the conduct of others.” Holder v. Humanitarian Law Project, 561 U.S. 1, 18–19 (2010), quoting

Hoffman, 455 U.S. at 495. The Supreme Court, however, recently expressed some skepticism

about that framework, noting that its prior holdings “squarely contradict the theory that a vague

provision is constitutional merely because there is some conduct that clearly falls within the

provision’s grasp.” Johnson v. United States, 135 S. Ct. 2551, 2561 (2015).

        More important, after the instant motion had been briefed, the D.C. Circuit held that the

guidance set forth in Humanitarian Law Project does not apply to a vagueness challenge to a

statute premised on the argument that the statute encourages arbitrary and discriminatory

enforcement. See Act Now to Stop War & End Racism Coal. (ANSWER) v. District of Columbia,

846 F.3d 391, 410 (D.C. Cir. 2017). The plaintiffs in ANSWER brought a facial First Amendment



3        Because the Court concludes that there has been no constitutional violation, it need not
address whether a custom or practice of the municipality caused the alleged violation. But
plaintiffs Agnew and Dennis specifically allege that they were arrested by a particular officer, who
has “a quick temper that seems to control him,” and who “is known to have arrested several other
young black men in the area for incommoding.” See 3d Am. Compl. ¶¶ 66–67, 70, 88–90. So,
while the Court need not reach the issue, it questions whether plaintiffs have adequately alleged
that it was a District of Columbia policy or custom that was the “moving force” behind their arrests,
or whether it was a particular officer’s alleged racial animus or uncontrolled temper.
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challenge to a restriction on the amount of time that “a sign relating to an event” may remain on a

public lamppost. Id. at 396. The Court of Appeals rejected the District’s argument that the

plaintiffs’ facial challenge must fail because they had not established that as as-applied challenge

would be successful. Id. at 409–10. The Court noted: “it is not apparent how the Humanitarian

Law Project rule – barring a person to whom a legal provision clearly applies from challenging its

facial failure to give sufficient notice to others – could apply to a claim that a law is so vague as to

fail to guide the government’s enforcement discretion.” Id. at 410. So the Court need not address

whether the incommoding statute is unconstitutional as applied to plaintiffs; it need only address

whether the incommoding statute is facially unconstitutional.

II.     The incommoding statute is not facially unconstitutional, so plaintiffs have not alleged
        a predicate constitutional violation.
        The Due Process Clause “prohibits the Government from taking away someone’s life,

liberty, or property under a criminal law so vague that it fails to give ordinary people fair notice of

the conduct it punishes, or so standardless that it invites arbitrary enforcement.” Beckles v. United

States, 137 S. Ct. 886, 892 (2017), quoting Johnson, 135 S. Ct. at 2556; see also Skilling v. United

States, 561 U.S. 358, 402–03 (2000), quoting Kolender v. Lawson, 461 U.S. 352, 357 (1983). The

Supreme Court has explained that “the void-for-vagueness doctrine requires that a penal statute

define the criminal offense with sufficient definiteness that ordinary people can understand what

conduct is prohibited and in a manner that does not encourage arbitrary and discriminatory

enforcement.” Kolender, 461 U.S. at 357. Plaintiffs’ third amended complaint focuses on the

second prong of that doctrine.

        “What renders a statute vague is not the possibility that it will sometimes be difficult to

determine whether the incriminating fact it establishes has been proved; but rather the

indeterminacy of precisely what that fact is.” United States v. Williams, 553 U.S. 285, 306 (2008).


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The Supreme Court has explained that if a statute requires “wholly subjective judgments without

statutory definitions, narrowing context, or settled legal meanings,” courts may find the statute to

be unconstitutionally vague on the grounds that it encourages arbitrary and discriminatory

enforcement. Id.

       Plaintiffs argue that the incommoding statute vests unfettered discretion in the hands of

police officers, and they point to City of Chicago v. Morales, 527 U.S. 41 (1999) to support their

theory. See Pls.’ Opp. at 9–15 (summarizing and commenting on Morales). In that case, the

Supreme Court struck down a “Gang Congregation Ordinance” which prohibited “‘criminal street

gang members’ from ‘loitering’ with one another or with other persons in any public place.”

Morales, 527 U.S. at 45–46. As the Supreme Court observed, to charge someone with a violation

of that ordinance:

               First, the police officer must reasonably believe that at least one of the two
               or more persons present in a “public place” is a “criminal street gang
               membe[r].” Second, the persons must be “loitering,” which the ordinance
               defines as “remain[ing] in any one place with no apparent purpose.” Third,
               the officer must then order “all” of the persons to disperse and remove
               themselves “from the area.” Fourth, a person must disobey the officer’s
               order.




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Id. at 47. A plurality of the Supreme Court found that the Chicago ordinance was subject to a

facial challenge because it had “no mens rea requirement, [it] infringe[d] on constitutionally

protected rights,” and because “vagueness permeate[d] the text.” Morales, 527 U.S. at 55. 4

       In particular, a plurality of the Court found the definition of the term “loiter” in the Chicago

ordinance to be impermissibly vague: “[T]he vagueness that dooms this ordinance is not the

product of uncertainty about the normal meaning of ‘loitering,’ but rather about what loitering is

covered by the ordinance and what is not,” because “loiter” was defined as remaining in one place

“with no apparent purpose.” Morales, 527 U.S. at 53, 57.

       Similarly, in Kolender v. Lawson, the Supreme Court struck down a California statute that

required those who “loiter or wander on the streets” to present, when asked, a “credible and

reliable” identification to a police officer. 461 U.S. at 353. The Court found that the law

“contain[ed] no standard for determining what a suspect has to do in order to satisfy the

requirement to provide a ‘credible and reliable’ identification.” Id. at 358. Since the statute

“vest[ed] virtually complete discretion in the hands of the police to determine whether the suspect

ha[d] satisfied the statute” by producing an identification that was “credible and reliable,” the




4        Plaintiffs argue that an “additional, independent, reason for denying the defendant’s motion
to dismiss” is the fact “that the incommoding statute violates due process because it lacks an
appropriate mens rea requirement on each element.” Pls.’ Opp. at 1, 41–42, citing Elonis v. United
States, 135 S. Ct. 2001, 2011 (2015). But Elonis does not stand for the proposition that a plaintiff’s
due process rights are violated whenever a criminal statute is silent on a mens rea requirement. To
the contrary, the Supreme Court in Elonis found that a court can read a mens rea requirement into
a statute to “separate wrongful conduct from otherwise innocent conduct.” Elonis, 135 S. Ct. at
2010, quoting Carter v. United States, 530 U.S. 255, 269 (2000). The Court in Elonis was faced
with a statute prohibiting threats communicated over the internet. While the statute did not specify
a mens rea requirement, the Supreme Court held that, in order to be convicted of violating the
statute, the defendant must have had the mental state to know that his communication contained a
threat. Id. at 2011.
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Court concluded that the loitering statute was unconstitutionally vague under the arbitrary and

discriminatory enforcement prong. Id.

       The lesson to be drawn from this precedent is that the critical factor in a facial challenge

based on a risk of arbitrary and discriminatory enforcement is whether the statute is drafted in such

a manner that it necessarily vests the determination of whether the law has been violated upon a

purely subjective judgment. See Coates v. Cincinnati, 402 U.S. 611, 614 (1971) (striking down a

Cincinnati ordinance that proscribed “three or more persons” from “assembling . . . on any of the

sidewalks . . . and there conduct themselves in a manner annoying to persons passing by,” because

“[c]onduct that annoys some people does not annoy others,” so “no standard of conduct is specified

at all”); Armstrong v. D.C. Pub. Library, 154 F. Supp. 2d 67, 77–78 (D.D.C. 2001) (striking down

the District of Columbia Public Library’s appearance regulation, which allowed library personnel

to refuse entry to patrons with an “objectionable appearance,” because the regulation depended

“only upon subjective interpretation of the term ‘objectionable’”).

       But that concern is not present in this case, because a violation of the D.C. Code provision

does not depend upon an element that can vary with the eye of the beholder such as “with no

apparent purpose.” The problem in Morales was that the city of Chicago had added a subjective

gloss to the normal meaning of the word “loiter” when it drafted the ordinance. But here, the

statute does not specifically define the words “crowd,” “obstruct,” and “incommode;” the

applicability of the statute turns on whether an individual is in fact crowding, obstructing, or

incommoding the use of a sidewalk or entryway as those terms are ordinarily understood, and

whether that individual in fact ignores a police officer’s instruction to stop. Thus, the statutory

terms are not subject to “subjective judgments,” see Williams, 553 U.S. at 306, Morales, 527 U.S.




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at 62, and therefore, the statute does not on its face (which is the sole challenge here) specifically

authorize or encourage discriminatory enforcement. 5

       It is true that an individual officer’s enforcement discretion may be unlawfully tainted by

racial animus in a particular case, but the fact that police officers have enforcement discretion – as

they do under all provisions – does not render the statute itself to be unconstitutionally vague. See

ANSWER, 846 F.3d at 412 (“Ostensible vagueness about ‘whether the incriminating fact . . . has




5       Perusing the dictionary would not change the outcome of this decision. “Crowd” is defined
as “to press towards a common center, to gather or congregate closely so as to press upon one
another; to come or assemble in large numbers or crowds; to flock; throng.” Oxford English
Dictionary,             http://www.oxforddictionaries.com/us/definition/american_english/crowd.
“Obstruct” is defined as “to block or impede passage along or through (an opening, thoroughfare,
waterway, etc.); to place or be an obstacle in; to render impassable or difficult of passage.” Oxford
English Dictionary, http:// www.oed.com/view/Entry/129983. “Incommode” is defined to mean,
among other things, obstruct or impede. Oxford English Dictionary, http:// www.oed.com/view/
Entry/93672. All of these refer to objective, observable actions.

        It could be argued that the use of the somewhat dated word, “incommode,” which appeared
in the predecessor statute, would be problematical if it stood alone, because the definition also
includes more subjective alternatives, such as to “subject to inconvenience or discomfort” or to
“annoy.” Id. But its presence in the series, “to crowd, obstruct, or incommode” adds clarification.
As the Supreme Court explained in McDonnell v. United States, when choosing between
competing definitions, “we look to the context in which the words appear.” 136 S. Ct. 2355, 2368
(2016). “Under the familiar interpretive canon noscitur a sociis, ‘a word is known for the company
it keeps.’” Id., quoting Jarecki v. G.D. Searle & Co., 367 U.S. 303, 307 (1961). The D.C. Circuit
applied the same “longstanding principle” when confronted with a federal law that made it
unlawful to “make a harangue or oration” at the Supreme Court: “we are interpreting a statute,
not restating a dictionary. Our search here is not for every facet of ‘harangue’ or ‘oration,’ but
their meaning within the statute at issue.” United States v. Bronstein, 849 F.3d 1101, 1108 (D.C.
Cir. 2017), citing Jarecki, 367 U.S. at 307; see also Valdes v. United States, 475 F. 3d 1319, 1323
(D.C. Cir 2007) (relying on the canon of noscitur a sociis).
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been proved’ is not vagueness at all.”), quoting Williams, 553 U.S. at 306. 6 The legal test is

whether license to discriminate has been baked into the statute.

       Because the Court concludes that the incommoding statute does not contain the subjective

element that would invalidate it on the grounds that it invites arbitrary enforcement on its face

– which is the sole challenge being presented here – plaintiffs have not alleged the predicate

constitutional violation necessary to give rise to section 1983 liability. Therefore, their most recent

complaint must be dismissed for failure to state a claim.

                                          CONCLUSION

       For the foregoing reasons, defendant’s motion to dismiss the complaint for failure to state

a claim will be granted. 7

       A separate order will issue.




                                               AMY BERMAN JACKSON
                                               United States District Judge
DATE: June 26, 2017



6      Plaintiffs argue in their opposition that the statute is impermissibly vague because it lacks
a mens rea requirement. See Pls.’ Opp. at 28–30. It is true that the concern that a statute “fails to
provide people of ordinary intelligence a reasonable opportunity to understand what conduct it
prohibits” can be “ameliorated” when the statute contains a mens rea standard. Hill v. Colorado,
530 U.S. 703, 732 (2000). But the concern raised by the Court in Hill is not present in this case
because plaintiffs have only claimed that the statute leads to arbitrary and discriminatory
enforcement; they have abandoned their claim that the statute fails to provide fair notice. See 3d
Am. Compl. ¶ 2.

7       Plaintiffs’ class action claim is therefore also dismissed, because named plaintiffs in a class
action “‘must allege and show that they have personally been injured, not that injury has been
suffered by other, unidentified members of the class to which they belong’” to have standing to
bring a claim on behalf of a class. Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 n.6 (2016), quoting
Simon v. E. Ky. Welfare Rights Org., 426 U.S. 26, 40, n.20 (1976).
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